           USCA11 Case: 23-13669      Document: 4    Date Filed: 11/27/2023   Page: 1 of 8


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                               <-s\   CARLOS JOHNSON
                                   \ REG. NO. 94865-020
               my 2 7 2023
                                   J   FCIFAIRTON
              '^--LAJITA. ga   ./FEDERAL CORR. INSTITUTION
                                        P.O. BOX 420
                                     FAIRTON, NJ 08320
                                      November*?^ 2023

        Mr. David J. Smith
        Clerk of Court
        U.S. Court of Appeals
        For the Eleventh Circuit
        56 Forsyth St, N.W.
        Atlanta, Georgia 30303

              RE:    No. 23-13669,-Jp USA v. Carlos Johnson
                     CrimNo. l:ll-cr-00012-WLS-TQL-l

        Dear Mr. Smith:

              Enclosed please find and accept for filing Defendant-Appellant’s Certificate
        of Interested Persons and Corporate Disclosure Statement. Please submit this
        document to the Court.

              Thank you for your assistance in this matter.

                                                     Sincerely,




                                                    CARLOS JOHNSON
                                                    Appearing Pro Se

        Enel, as noted
i




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                                 23-13669-D

                IN THE UNITED STATES COURT OF APPEALS
                       FOR THE ELEVENTH CIRCUIT


                        UNITED STATES OF AMERICA,
^fOFAP^
    received
     CLERK                       Plaintiff-Appellee,

                                         v.
  ATLAUlbJ&'
                               CARLOS JOHNSON,

                               Defendant-Appellant.


                On Appeal from the United States District Court
               For the Middle District of Georgia, Albany Division
                 District Court No. 1:11-CR-00012-WLS-TQL-1


     DEFENDANT-APPELLANT’S CERTIFICATE OF INTERESTED
       PERSONS AND CORPORATE DISCLOSURE STATEMENT



      COMES Movant-Appellant, CARLOS JOHNSON (“Johnson”), appearing;?™

se, and files his Notice or Certificate of Interested Persons and Corporate Disclosure

Statement as follows:
  USCA11 Case: 23-13669        Document: 4    Date Filed: 11/27/2023   Page: 3 of 8


                                         I.

      Pursuant to 11th Cir. R. 26.1 -2(c), Johnson hereby files his Certificate of

Interested Persons and Corporate Disclosure Statement required by Rule 26.1-2(a).

The following is a complete list of all persons and entities that Johnson believes to

have an interest in the outcome of the case. These representations are made in order

that the Judges of this Court may evaluate possible disqualification or recusal as

required by 11th Cir. R. 26.1-1:

             Arana, Victor Arturo - former Attorney for Co-Defendant
             Bennett, Danial Edward - Assistant United States Attorney, formerly
             MiddleDistrict of Georgia;
             Brimberry, Mark D. - former Attorney for Co-Defendant;
             Bruton, Travis - Co-Defendant;
             Caine, Tyrone - Co-Defendant;
             Cannon, John Phillip - Attorney for Co-Defendant;
             Carter, Roosevelt, II - Attorney for Co-Defendant;
             Clemons, Casey - Co-Defendant;
             Collum, Rick Daniel - former Attorney for Co-Defendant;
             Cox, Carrie D. - Attorney for Co-Defendant;
             Davis, Terrance - Co-Defendant;
             Debrow, Barry, Jr. - Attorney for Co-Defendant;
             Dennard, Michael - former Assistant United States Attorney; Middle
             District of Georgia;
             Dodson, Jonathan R - former Attorney for Defendant;
             Driskell, Ingrid - Attorney for Co-Defendant;
             Edwards, John Gee - former Attorney for Co-Defendant;
             Fernandez, Jack E. - former Attorney for Co-Defendant;
             Gabriel, Russell C. - Interim Executive Director, Federal Defenders of
             the Middle District of Georgia, Inc.;
             Gamble, Wilbur T., III. - former Attorney for Defendant-Appellant;
             Goss, Ron - Co-Defendant;

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            Graham, Bernard - Co-Defendant;
            Hall, William Douglas - Attorney for Co-Defendant;
            Hamilton, Paul - Attorney for Co-Defendant;
            Harris, John - Co-Defendant;
            Johnson, Carlos - Petitioner-Appellant;
            Johnson, Erica - Co-Defendant;
            Johnson, Kelvin - Co-Defendant;
            Johnson, Larry Michael - Attorney for Co-Defendant;
            Jones, T’Michael - Co-Defendant;         j
            King, Chevene Bowers - Attorney for Co-Defendant;
            Langstaff, Thomas Q. - United States Magistrate Judge, Middle District
            of Georgia;
            Leary, Peter D. - United States Attorney, Middle District of Georgia;
            Ledford, John R. - Attorney for Co-Defendant;
            Lietz, W. Carl, III. - former Attorney for Co-Defendant;
.
            McEwen, Leah - Assistant United States Attorney, Middle District of
            Georgia;
            McKnight, Brandon - Co-Defendant;
            Murrah, Gilbert J. - Attorney for Co-Defendant;
            Pollard, Avery - former Attorney for Co-Defendant;
            Sadow, Steven H. - Attorney for Co-Defendant;
            Sands, W. Louis - Judge, United States District Court, Middle District
            of Georgia;
            Schieber, Michelle L. - Assistant United States Attorney, Middle
            District of Georgia;
            Scott, Maurice - Co-Defendant;
            Sheffield, Nichole - Co-Defendant;
            Shein, Marcia G. - former Attorney for Defendant-Appellant;
            Shuler, Anthony - Co-Defendant;
            Stroud, Marikes - Co-Defendant;
            Underwood, William Fleming, III - Attorney for Co-Defendant;
            Vickers, Jimmy - Co-Defendant;
            Westbroek, Jared Scott - former Attorney for Defendant;
            Williams, D. Nicole - Attorney for Co-Defendant;
            Williams, Gerald B. - former Attorney for Co-Defendant;
            Wilson, James - Co-Defendant;
            Winbush, Antonio - Co-Defendant;

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               Yarbrough, Derek E. - Attorney for Co-Defendant;
               Victims: No victims have been identified.

      No publicly traded company or corporation has an interest in the outcome of

this appeal.

                                             Respectfully submitted,




Dated: November*^. 2023                                       inZfPlUil
                                             CARLOS JOHNSON
                                             REG. NO. 94865-020
                                             FCIFAIRTON
                                             FEDERAL CORR. INSTITUTION
                                             P.O. BOX 420
                                             FAIRTON, NJ 08320
                                             Appearing Pro Se

                          CERTIFICATE OF SERVICE

      I hereby certify that on November<3^, 2023, a true and correct copy of the
above and foregoing Defendant-Appellant’s Certificate of Interested Persons and
Corporate Disclosure Statement was mailed via U. S. Mail, postage prepaid, to
Michelle L. Schieber, Assistant U.S. Attorney, 300 Mulberry Street, Suite 400, Post
Office Box 1702, Macon, Georgia 31202-1702.




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                                             CARLOS JOHNSON



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USCA11 Case: 23-13669   Document: 4       Date Filed: 11/27/2023   Page: 6 of 8   V




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